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                                  UNITED STATES DISTRICT COURT
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                               NORTHERN DISTRICT OF CALIFORNIA
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                                         SAN FRANCISCO DIVISION
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18 MAXIMILIAN KLEIN, et al., on behalf of               Case No. 20-cv-08570-JD
   themselves and all others similarly situated,
19                                                      The Hon. James Donato
             Plaintiffs,
20                                                      DECLARATION OF BRIAN J. DUNNE IN
          v.                                            SUPPORT OF ADVERTISER
21                                                      PLAINTIFFS’ ADMINISTRATIVE
   META PLATFORMS, INC.,                                MOTION TO CONSIDER WHETHER
22                                                      ANOTHER PARTY’S MATERIAL
             Defendant.                                 SHOULD BE SEALED
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                              Declaration of Brian J. Dunne - Case No. 20-cv-08570-JD
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 1     I, Brian J. Dunne, declare and state as follows:
 2     1.     I am an attorney licensed in the State of California and admitted to the United States
 3            District Court for the Northern District of California. I am an attorney at Bathaee Dunne
 4            LLP, Interim Co-Lead Counsel for the Advertiser Plaintiffs in the above-captioned
 5            matter. I have personal knowledge of the facts set forth herein and, if called as a witness,
 6            could and would testify competently to them.
 7     2.     This declaration is made in support of Advertiser Plaintiffs’ Administrative Motion to
 8            Consider Whether Another Party’s Material Should Be Sealed, filed in connection with
 9            the concurrently filed Advertiser Plaintiffs’ Opposition to Meta’s Motion to Dismiss the
10            First Amended Consolidated Advertiser Class Action Complaint (“Opposition”).

11     3.     Certain documents and information referenced in the Opposition have been designated
12            by Defendant Meta Platforms, Inc., as “Confidential” or “Highly Confidential” under
13            the Stipulated Protective Order (Dkt. No. 111).
14     4.     Portions of the Opposition referencing or reflecting the contents of the documents and
15            information designated by Meta Platforms as “Confidential” or “Highly Confidential”
16            have been redacted from the publicly filed version of the Opposition. See Civil L.R. 79-
17            5(e)(1).

18     5.     An unredacted version of the Opposition with these references highlighted is filed
19            herewith. See Civil L.R. 79-5(e)(2), (f)(1).
20     6.     Advertiser Plaintiffs’ request is limited to documents and information produced by Meta
21            Platforms marked Confidential or Highly Confidential, or information directly reflecting
22            documents and information produced by Meta Platforms marked Confidential or Highly
23            Confidential. This request is thus narrowly tailored to seek sealing only of potentially
24            sealable material.
25     I declare under penalty of perjury that the foregoing is true and correct.
26     Executed on April 11, 2022, in Pasadena, California.
27                                                      s/ Brian J. Dunne
                                                        Brian J. Dunne
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                          Declaration of Brian J. Dunne - Case No. 20-cv-08570-JD
